                                 United States District Court
                              Eastern District of North Carolina
                                      Office of the Clerk
                                       PO Box 25670
                                Raleigh, North Carolina 27611

 Phone (919) 645-1700                                                                Peter A. Moore, Jr.
 Fax (919) 645-1750                                                                      Clerk of Court


April 25, 2019


RE: Southern Roots Farming Company, LLC v. CFG Financial Services, LLC et al
    7:19-CV-38-D
   Notice to Parties Regarding Filing of Bankruptcy Record on Appeal

TO: THE PARTIES OF RECORD

This is to advise all parties that the record on appeal in the above-captioned case was docketed in
Eastern District of North Carolina on 4/25/2019. Briefs must be filed in accordance with Rule
8018 of the Federal Rules of Bankruptcy Procedure.

Parties who have not yet complied with Local Civil Rule 5.2 (Notice of Appearance) and Local
Civil Rule 7.3 (Financial Disclosure) must do so within seven (7) days of the date of this notice.

Sincerely,

PETER A. MOORE, JR., CLERK OF COURT


By: /s/Nicole Sellers
    Deputy Clerk




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